GAse ROSANA AE RAR LideoCuMent 161 Entered on FLSD Docket 04/29/2004 Page 1 of 1

United States District Court hf Mot / Kis pole

SOUTHERN DISTRICT OF FLORIDA |

EXHIBIT AND WITNESS LIST |

RIZALYN BAUTISTA, etc., et al.
PAUL PERALTA

RAYMOND LOVINO Wh.

RONALDO MARCELINO CASE NUMBER:V43-21642-CIV-SEITZ/BANDSTRA
ROLANDO TEJERO CASE NUMBER: 03-21643-CIV-SEITZ/BANDSTRA
ABDI COMEDIA CASE NUMBER: 03-21644-CIV-SEITZ/BANDSTRA
CRISTINA L. VALENZUELA, etc., et al. CASE NUMBER: 03-21645-CIV-SEITZ/BANDSTRA
MARILEN S. BERNAL, etc., et al. CASE NUMBER: 03-21646-CIV-SEITZ/BANDSTRA
WILLY I. VILLANEUVA, etc., et al. CASE NUMBER: 03-21647-CIV-SEITZ/BANDSTRA "
MARCIA GRACIA L. ROSAL, etc., et al. CASE NUMBER: 03-21648-CIV-SEITZ/BANDSTRA

CASE NUMBER: 03-21649-CIV-SEITZ/BANDSTRA
CASE NUMBER: 03-21650-CIV-SEITZ/BANDSTRA 7 ¢

Vv. a
CASE NUMBER: 03-21651-CIV-SEITZ/BANDSTRA ns
STAR CRUISES and NORWEGIAN CRUISE LINE, LTD. ce: , on
“eA:
PRESIDING JUDGE PLAINTIFF'S ATTORNEY DEFENDANT'S ATTORNEY
The Honorable Ted F. Bandstra William Huggett, Esq. Curtis J. Mase, Esq.

| HEARING DATE(S)

| Mareh-28,2604— | 2g) Witham Rornan gun ‘ely Ftv

PLE. DEF. DATE
NO. NO. OFFERED MARKED ADMITTED DESCRIPTION OF EXHIBITS* AND WITNESSES
fol Order Granting Plaintiffs’ Unopposed Motion for an Order for Expedited Mediation

24 42g

Sun-Sentinel Article, “SS Norway victims, widows rejected $8.5 million settlement”
The Bradenton Herald Article, “Families of killed cruise ship sailors sue for donated

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3 | Y 4g fou money”
7 Y The Associated Press Article, “Judge orders cruise line to account for donations to
4 2¢ oY families”
5 Affidavit of William Huggett, Esq. dated January 5" 2004
October 8, 2003 correspondence from Curtis J. Mase, Esq. to William Huggett, Esq.
6 (Redacted version |)

October 8, 2003 correspondence from Curtis J. Mase, Esq. to William Huggett, Esq.
7 (Redacted version 2)

8 4 lalot — October 8, 2003 correspondence from Curtis J. Mase, Esq. to William Huggett, Esq.
WW SL February 12, 2004 correspondence from William Huggett, Esq. to Domingo G.
9 / Castillo, Esq.
it
10 v Affidavit of Marilen Bernal dated February 18, 2004
ut ~~
Il v - Affidavit of Maria Gracia L. Rosal dated February 18, 2004
J it Lf February 16, 2004 correspondence from Domingo G. Castillo, Esq. to Atty Joseph
_-.-t.. N2NP 0... - Canuyan
J Vw / February 24, 2004 correspondence from Witham Huggett, Esg. to Domingo G.
sep Y Castilla Esa
J i Y March #5, 2004 correspondence from Joseph Capuyan, Esq. to Domingo G.
14 _ Castilla Esa

* Include a ve to the lato of any exhibit not held with the case file ox AeA t Dom? in 9 U QS i, Hy + a Hoc
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